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                                   4                                   UNITED STATES DISTRICT COURT

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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                   8     AASYLEI LOGGERVALE, AAOTTAE
                                         LOGGERVALE, and AASYLEI HARDGE-
                                   9     LOGGERVALE,                                           No. C 20-04679 WHA

                                  10                    Plaintiffs,

                                  11             v.                                            ORDER DENYING MOTION FOR
                                                                                               SANCTIONS AND VACATING
                                  12     STEVEN HOLLAND, MONICA POPE,
Northern District of California




                                                                                               TOMORROW'S HEARING
 United States District Court




                                         and COUNTY OF ALAMEDA,
                                  13
                                                        Defendants.
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                                              Plaintiffs’ motion for sanctions is DENIED. No counsel will be sanctioned on either side.
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                                       Defendants’ conduct in lodging an objection against the timeliness of plaintiffs’ request for non-
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                                       statutory costs is a question of interpretation of this Court’s prior order and does not amount to a
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                                       violation of Rule 11. Accordingly, the hearing currently set for tomorrow at 8 AM is VACATED.
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                                              IT IS SO ORDERED.
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                                         Dated: June 7, 2023.
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                                  25                                                             WILLIAM ALSUP
                                                                                                 UNITED STATES DISTRICT JUDGE
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